
726 S.E.2d 844 (2012)
STATE of North Carolina
v.
Jermaine MOSES.
No. 198P12.
Supreme Court of North Carolina.
June 13, 2012.
Marc X. Sneed, Assistant Attorney General, for State of North Carolina.
Jermaine Moses, for Moses, Jermaine.
Peter S. Gilchrist, III, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 3rd of May 2012 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 13th of June 2012."
